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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


  COMMISSIONED OFFICERS
  ASSOCIATION OF THE UNITED STATES
  PUBLIC HEALTH SERVICE,

                      Plaintiff,

                 v.                                    Civil Action No. 21-0853 (JDB)

  LONNIE G. BUNCH, III, Secretary of the
  Smithsonian Institution, et al.,

                      Defendants.


     REPLY IN FURTHER SUPPORT OF DEFENDANTS’ MOTION TO DISMISS




                                           MATTHEW M. GRAVES
                                           United States Attorney

                                           BRIAN P. HUDAK
                                           Acting Chief, Civil Division

                                           DIANA V. VALDIVIA
                                           Assistant United States Attorney
                                           U.S. Attorney’s Office for the District of Columbia
March 25, 2022
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                                        INTRODUCTION

       Defendants (i) Lonnie G. Bunch, III, in his official capacity as Secretary of the Smithsonian

Institution (“Smithsonian”); (ii) Cynthia Chavez Lamar, 1 in her official capacity as Director of the

Smithsonian Institution’s National Museum of the American Indian (“NMAI”); (iii) and the United

States of America (collectively, “Defendants”), by and through undersigned counsel, respectfully

submit this reply memorandum in further support of their motion to dismiss the Complaint filed

by the Commissioned Officers Association of the United States Public Health Service (“Plaintiff”

or the “Association”) pursuant to Rules 12(b)(1) and 12(b)(6). See ECF No. 6 (“Defs’ Motion”).

       As discussed in Defendants’ Motion, Plaintiff in this case is a “member-based organization

that supports and advocates for the [U.S. Public Health Service’s] Commissioned Corps and its

active duty, reserve, and retired officers.” See ECF No. 1 (“Compl.”) ¶ 7. The Association

purports to bring this action under the Due Process Clause of the U.S. Constitution and asks the

Court to compel Defendants to include the seals of both the U.S. Public Health Service (“USPHS”)

and the National Oceanic Atmospheric Administration (“NOAA”) on the National Native

American Veterans Memorial (the “Memorial”), despite Plaintiff’s admission that the plain

language of the statute creating the Memorial (the “Act”) excludes USPHS and NOAA.

       Defendants moved to dismiss Plaintiff’s Complaint in its entirety because the Association

lacks standing and fails to adequately plead a claim under the Due Process Clause. ECF No. 6-1

(“Defs’ Mot.”) at 12-20. 2 Moreover, Defendants urged the Court to decline Plaintiff’s invitation

to intervene in this controversy pursuant to the political question doctrine. Id. at 20-22.



1
       Pursuant to Federal Rule of Civil Procedure (“Rule”) 25(d), Director Cynthia Chavez
Lamar is automatically substituted in her official capacity for her predecessor in office.
2
       All citations to documents filed on the Court’s docket refer to the ECF-generated
pagination in the documents’ headers, not the pagination (if any) at the bottom of the pages.
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        Plaintiff’s memorandum in opposition relies heavily on outrage and little else. Each of the

arguments advanced in Plaintiff’s opposition, addressed in turn below, blame the Smithsonian for

matters outside the agency’s control, are based on a misunderstanding of relevant law, and

otherwise lack merit. Accordingly, the Court should grant Defendants’ motion and allow Plaintiff

to address its grievance with Congress.

                                           ARGUMENT

   I.        PLAINTIFF’S CLAIM SHOULD BE DISMISSED                               BECAUSE        THE
             ASSOCIATION LACKS ARTICLE III STANDING

        Defendants maintain that the Court should dismiss Plaintiff’s claim as the Association

lacks Article III standing. Defs’ Mot. at 12-16. Specifically, Defendants demonstrated in their

Motion that Plaintiff failed to allege facts sufficient to establish either organizational or

representational standing. Id. In its opposition, Plaintiff argues that it has established both. See

ECF No. 11 (“Pl’s Opp.”) at 17-25. Plaintiff is incorrect.

        A.     Plaintiff Fails to Establish Organizational Standing

        As discussed in Defendants’ opening Motion, Plaintiff fails both prongs of the D.C.

Circuit’s test for organizational standing. See Defs’ Mot. at 13-15 (citing PETA v. USDA (“PETA

II”), 797 F.3d 1087, 1099 (D.C. Cir. 2015), among other authorities). Nothing alleged in the

Complaint supports the conclusion that the Smithsonian’s actions have perceptively impaired the

Association’s ability to provide services. Id. at 14 (citing generally Plaintiff’s Compl.). Rather, if

anything, the Association is alleging that its mission is being compromised, see Compl. ¶ 7

(“Plaintiff’s mission is to . . . support[] and advance[e] the interests of the USPHS”), which is

insufficient under this Circuit’s case law. Id. at 14-15 (citing Abigail All. for Better Access to

Developmental Drugs v. Eschenbach, 469 F.3d 129, 133 (D.C. Cir. 2006). Finally, the Association




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also fails to allege that it has invested resources that are not “self-inflicted” to counteract any

alleged harm. Id. at 15.

        Plaintiff counters that it meets the first prong of the D.C. Circuit test (whether the agency’s

action or omission to act injured the organization’s interest) because the Association’s “mission is

clearly in direct conflict with the Defendants’ conduct.” Pl’s Opp. at 19 (emphasis added). But

Plaintiff misunderstands this Circuit’s case law.

        The D.C. Circuit has stated that in order to establish organizational standing the

organization’s activities must be impeded; a compromised mission, alone, is insufficient. See

National Treasury Employees Union v. United States, 101 F.3d 1423, 1429-30 (D.C. Cir. 1996);

Abigail Alliance, 469 F.3d 129 (D.C. Cir. 2006); Citizens for Responsibility and Ethics in

Washington (“CREW”) v. U.S. Office of Special Counsel, 480 F. Supp. 3d 118, 127-28 (D.D.C.

2020). Put another way, direct conflict with an organization’s mission is necessary, but not

sufficient to establish organizational standing. Id. Here, there is little in Plaintiff’s Complaint that

even discusses the organization’s activities, and nothing establishing either a direct conflict

between the Smithsonian’s actions and Plaintiff’s mission or showing that Plaintiff’s activities

have been impeded. See generally Compl. Plaintiff thus fails the first prong of the standing test.

        With respect to the second prong of the Circuit’s test for organizational standing (whether

the organization used its resources to counteract the harm), Plaintiff argues that it meets this prong

because it spent an unspecified amount of time and money “in advocacy to correct the message

being broadcast by the Memorial” by mailing forty-three letters “from June 2018 onwards.” Pl’s

Opp. at 20-21. Despite Plaintiff’s protests to the contrary, the unquantified costs of this letter

writing campaign appear to be litigation and pre-litigation efforts that have been characterized by

the D.C. Circuit as “efforts at increasing legal pressure” on an opposing party, which are




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considered self-inflicted, and thus insufficient to establish standing. See Equal Rights Center v.

Post Properties, Inc., 633 F.3d 1136, 1142 (D.C. Cir. 2011). Additionally, Plaintiff has not shown

that it has expended resources “beyond those normally carried out to advance [its] mission,” a

requirement to establish standing. CREW, 480 F. Supp. 3d at 128. The facts of this case call to

mind the facts of CREW in that the Plaintiff’s letter writing campaigns “fall[] neatly within the

core set of activities it has long performed” and are “the devotion of resources to advocacy for the

organization’s preferred policy.” Id. at 132-33; see also Pl’s Opp. at 12 (noting Plaintiff is “forced

to constantly engage with Congress to ensure that USPHS and NOAA officers receive the benefits

they are due as veterans.”). It is also unclear from the Complaint and Plaintiff’s opposition whether

Plaintiff’s alleged injuries were “actual or imminent” at the time this suit was filed, a necessary

condition to establish standing. Equal Rights Center, 633 F.3d at 1141-42.

        Finally, Plaintiff oddly asserts with respect to the causation element of a standing analysis

that “[t]his element is not in controversy here, as Plaintiff has clearly alleged that its injury in fact

stemmed from Defendants’ conduct and Defendants has [sic] not attempted to claim otherwise.”

Pls’ Opp. at 21-22. This somewhat stunning assertion ignores almost the entirety of Defendants’

Motion, which repeatedly argues that any alleged injury was caused not by the Smithsonian, but

by Congress, when it included language in the Act creating the Memorial explicitly excluding

USPHS and NOAA. See generally Defs’ Mot. It is Plaintiff’s burden to establish causation, and

Plaintiff has failed. For all of these reasons, and the reasons addressed in Defendants’ opening

Motion, the Association has thus failed to allege facts sufficient to meet this Circuit’s test to

establish organizational standing.




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       B.      Plaintiff Fails to Establish Representational Standing

       Plaintiff’s attempt to establish representational standing fares no better. Again, Plaintiff

fails to allege facts sufficient to meet several of the relevant test’s prongs where injunctive relief

is sought. As Defendants demonstrated in their opening motion, Plaintiff fails to allege facts

sufficient to demonstrate that: (1) at least one of its members is under threat of suffering injury in

fact that is concrete and particularized; (2) any threat of injury in fact to any of its members is

“fairly traceable to” an action of the Smithsonian; and (3) it seeks to protect interests that are

“germane to the organization’s purpose,” particularly with respect to its representation of NOAA

Commissioned Corps. Defs’ Mot. at 15-16.

       Plaintiff first argues in its opposition that it “has identified two active members, one from

USPHS and the other from NOAA” that allegedly are “willing to join as parties-in-interest to the

present litigation.” Pl’s Opp. at 23-24. This vague and unsupported allegation, admittedly not

even contained in Plaintiff’s Complaint, see Pl’s Opp. at 23, is insufficient to save Plaintiff’s

Complaint from dismissal. Affidavits from these unidentified individual members would be

required to establish representational standing. See Abigail Alliance, 469 F.3d 129, 134 (D.C. Cir.

2006; Friends of Animals v. Jewell, 115 F. Supp. 3d 107, 119 (D.D.C. 2015) (Bates, J.) (quoting

Chamber of Commerce of U.S. v. EPA, 642 F.3d 192, 199-200 (D.C. Cir. 2011) (“[W]hen a

petitioner claims associational standing, it is not enough to aver that unidentified members have

been injured. Rather, the petitioner must specifically identify members who have suffered the

requisite harm.”)). Plaintiff’s unsupported protests to the contrary notwithstanding, see Pl’s Opp.

at 25, because Plaintiff has not specifically identified these members or provided affidavits from

them, Plaintiff fails to establish this element of representational standing.




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         With respect to causation, Plaintiff argues that the alleged injury is fairly traceable to an

act of the Smithsonian because “the Defendants refus[e] [USPHS and NOAA] inclusion to the

Memorial.” Pl’s Opp. at 24. But, again, Plaintiff ignores the fact that Congress, not the

Smithsonian, determined that the Memorial was to honor veterans of the Armed Forces, as opposed

to veterans of the uniformed services. See Defs’ Mot. at 7-8. Plaintiff’s members’ exclusion from

the Memorial is therefore fairly traceable not to the Smithsonian, but rather to Congress.

         Finally, Plaintiff argues that it is seeking to protect interests that are germane to the

organization’s purpose because the Association’s purpose is to “constantly educate the public and

lawmakers that both USPHS and NOAA officers are veterans by law.” Pl’s Opp. at 24. While

that may well be, the Act that established the Memorial in question in this litigation repeatedly

makes clear that the Memorial is to honor Native Americans who have served in the Armed Forces.

Defs’ Mot. at 7-8. Unless the Association’s purpose is to educate the public and lawmakers that

its members are in fact veterans of the Armed Forces, as opposed to the uniformed service, this

lawsuit does not seek to protect an interest that is germane to the organization’s purpose.

         In sum, the Association fails to meet multiple prongs of the test required to establish

representational standing, and its claim should therefore be dismissed.

   II.      THE ASSOCIATION FAILS TO STATE A CLAIM UPON WHICH RELIEF
            CAN BE GRANTED

         Even assuming arguendo that Plaintiff could establish standing, the Complaint fails to

allege sufficient facts to plausibly allege that the Defendants violated a constitutionally protected

due process right, substantive or procedural. Defs’ Mot. at 16-20. With respect to an alleged

substantive due process violation, Plaintiff fails to identify a constitutionally protected property

right to which Plaintiff has a legitimate claim. Id. at 17-18. With respect to an alleged procedural

due process violation, Plaintiff fails to plausibly allege that it lacked an opportunity to be heard.



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Id. at 18-20. Defendants therefore sought dismissal of the Association’s due process claim

pursuant to Rule 12(b)(6). Id. at 16-20.

       In opposition, Plaintiff argues that it “seeks relief under the Due Process clause on three

grounds.” Pl’s Opp. at 26-27. First, Plaintiff purports to articulate a procedural due process claim

based on “reputational harm caused by the doubting of the full veterancy of USPHS and NOAA

officers” which Plaintiff claims carries “tangible impacts on their status.” Id. at 27. Next, Plaintiff

purports to bring (as the second and third grounds) both substantive and procedural due process

claims based on a theory (articulated for the first time in Plaintiff’s opposition) that the Act

establishing the Memorial contains a drafting error “meaning that Native USPHS and NOAA

members should have been consulted when planning the Memorial and were entitled to inclusion

in the Memorial.” Pl’s Opp. at 31-35. Plaintiff’s arguments miss the mark on all accounts.

       A.      The Association Does Not Plausibly Allege a Substantive Due Process Claim

       Defendants explained in their Motion that Plaintiff fails to plausibly allege a substantive

due process claim because Plaintiff does not identify a legitimate claim to a constitutionally

protected property interest. Defs’ Mot. at 17-18 (citing NB ex rel. Peacock v. District of Columbia,

794 F.3d 31, 41 (D.C. Cir. 2015); Bd. of Regents of State Colleges v. Roth, 408 U.S. 564, 577

(1972); Town of Castle Rock, Colo. v. Gonzales, 545 U.S. 748, 756 (2005)). Here, the only

possible source of a due process entitlement identified in the Complaint is the Act. See generally

Compl. Plaintiff claims an entitlement to “inclusion in the Memorial,” Pl’s Opp. at 31, under the

Act because its members are “veterans.” Compl. ¶ 61. But, as Defendants argued in their Motion,

by its very provisions, the Act explicitly excludes Plaintiff from any entitlement to the Memorial

as the Association’s members fall outside the scope of the Act’s coverage. Def’s Mot. at 17-18,

Ex. A. The Act provides its purpose is to give “[a]ll Americans the opportunity to learn of the

proud and courageous tradition of service of Native Americans in the Armed Forces of the United


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States.” Id. Plaintiff is not a member of, nor does Plaintiff represent members of, the Armed

Forces of the United States. See Compl. ¶¶ 17-18 (“The USPHS and the NOAA are traditionally

unarmed branches, since their missions do not inherently involve direct combat.”); 10 U.S.C. §

101(a)(4), (5) (defining “armed forces” and “uniformed services.”).

       Plaintiff now argues for the first time in its opposition that the Act contains a drafting

error—that “Armed Forces” was, as a matter of historical fact, supposed to read “uniformed

services.” Pl’s Opp. at 31-35. But, as a threshold matter, “[i]t is axiomatic that a complaint may

not be amended by the briefs in opposition to a motion to dismiss.” Hajjar-Nejad v. George Wash.

Univ., 802 F. Supp. 2d 166, 175 (D.D.C. 2011). Plaintiff may not articulate for the first time in its

opposition an allegation regarding a drafting error that appears nowhere in its Complaint.

Plaintiff’s allegations regarding the alleged drafting error on pages 31-35 of its opposition appear

nowhere in its Complaint.

       Moreover, Plaintiff’s argument lacks merit. The plain language of the Act indicates that

the Memorial is to honor Native Americans who served in the “Armed Forces.” Defs’ Mot. at 7-

8. In order for this Court to depart from the plain meaning of a statute “there must be evidence

that Congress meant something other than what it literally said.” Eagle Pharmaceuticals, Inc. v.

Azar, 952 F.3d 323, 332-3 (D.C. Cir. 2020). There is no such evidence here that would “clear this

high bar.” Id.

       In fact, the only evidence Plaintiff points to is its own assertion that Congress “invariably

extends the benefits of veterancy, including memorialization” to USPHS and NOAA when

“prompted” or “reminded” to do so. Pl’s Opp. at 10, 32. This assertion, however, is belied by the

facts of this very case, where Congress was presented with an opportunity to amend the Act to

include USPHS and NOAA and chose not to do so. Defs’ Mot. at 10. Plaintiff suggests that it




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would be inappropriate for the Court to consider the history of Congress’s failure to adopt the

Amendment that would have included USPHS and NOAA. Pl’s Opp. at 34. But Plaintiff cannot

have it both ways—on the one hand arguing that the Court must look to Congress’s adoption of

amendments to other laws for the purpose of extending preexisting veterans benefits to cover

USPHS and NOA once “prompted” as evidence that this is a historical “inevitability,” while

simultaneously maintaining that Congress’s decision to decline to amend this Act after being so

“prompted” is irrelevant. This argument is both internally inconsistent and unsupported by law.

       For all of these reasons, and those articulated in Defendants’ Motion, Plaintiff’s substantive

due process claim thus fails at the first stage of inquiry and should be dismissed.

       B.      The Association Does Not Plausibly Allege a Procedural Due Process Claim

       Plaintiff also fails to adequately plead a procedural due process claim because Plaintiff has

not demonstrated a lack of opportunity to be heard at a meaningful time and in a meaningful

manner. Defs’ Mot. at 18-20 (citing Kelley v. District of Columbia, 893 F. Supp. 2d 115, 123–24

(D.D.C. 2012); Mathews v. Eldridge, 424 U.S. 319, 332-33 (1976); McManus v. District of

Columbia, 530 F. Supp. 2d 46, 73 (D.D.C. 2007); Doe v. District of Columbia, 93 F.3d 861, 869-

70 (D.C. Cir. 1996); Morrissey v. Brewer, 408 U.S. 471, 481 (1972)).

       Plaintiff first argues in its opposition, relying on Trifax Corporation v. District of

Columbia, 314 F.3d 641 (D.C. Cir. 2003), that it can sustain a procedural due process claim

because it has alleged facts sufficient to demonstrate that its members suffered “reputational harm

by the doubting of the full veterancy of USPHS and NOAA officers” that carried “tangible impacts

on their status.” Pl’s Opp. at 27-31. Plaintiff’s reliance on Trifax, however, is misplaced.

       Trifax does not stand for the proposition that harm to reputation alone is actionable under

the due process clause.     Rather, Trifax applied the Circuit’s established “reputation plus”

requirement, which concerns itself with harm to reputation by the government that “‘has seriously


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affected, if not destroyed [their] ability to obtain employment [or contracts] in [their] field.’”

Trifax Corp., 314 F.3d at 644 (quoting Taylor v. Resolution Trust Corp., 56 F.3d 1497, 1506 (D.C.

Cir. 1995) (quoting Greene v. McElroy, 360 U.S. 474, 492 (1959))).

          Unlike the “reputation plus” cases, Plaintiff here does not allege “harms approaching, in

terms of practical effect, formal exclusion from a chosen trade or profession.” Trifax Corp., 314

F.3d 641, 644 (D.C. Cir. 2003). Nor do Plaintiff’s allegations demonstrate that the Smithsonian,

by allegedly attacking reputation, has “achieved in substance an alteration of status that, if

accomplished through formal means, would constitute a deprivation of liberty.” Id. There is no

allegation in Plaintiff’s Complaint that the Smithsonian has destroyed the Association’s or its

members’ ability to obtain employment, or otherwise deprived Plaintiff of a protected liberty

interest under the due process clause.

          Plaintiff next argues in its opposition that Defendants denied Plaintiff’s members “the right

of Native USPHS and NOAA to be consulted in the creation of the monument.” Pl’s Opp. at 35,

see also Pl’s Opp. at 2 (arguing that Defendants “completely fail[ed] to consult Native USPHS

and NOAA veterans.”). Plaintiff’s argument, however, inexplicably ignores the fact that the

Smithsonian reviewed, considered, and responded to the Association’s concerns when the

Association contacted the Smithsonian. See Defs’ Mot. at 9, Exs. C, D. The fact that Plaintiff

was dissatisfied with the outcome of this consultation does not mean that Plaintiff was deprived of

due process. Because Plaintiff fails to state a procedural due process claim upon which relief may

be granted, the Complaint should be dismissed.

   III.      PLAINTIFF’S CLAIM IS NONJUSTICIABLE UNDER THE POLITICAL
             QUESTION DOCTRINE

          The Court should dismiss Plaintiff’s Complaint for lack of subject matter jurisdiction

pursuant to the political question doctrine because, as Defendants demonstrated in their Motion to



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Dismiss, Plaintiff’s Complaint raises a “‘hands-off’ political question” implicating the third and

fourth prudential Baker factors and resolution of Plaintiff’s claim would necessarily implicate as

an initial matter policy determinations such as memorialization, commemoration, recognition,

honor, and national collective memory that are of a kind clearly for nonjudicial discretion. Defs’

Mot. at 20-23 (citing Al-Tamimi v. Adelson, 916 F.3d 1, 13 (D.C. Cir. 2019)). Additionally,

resolution would express a lack of respect due to Congress, a coordinate branch of government

that has already weighed in with a clear voice on three occasions (in a 1994 statute, a 2013

amendment, and in rejecting a proposed 2019 amendment) to address this very policy

determination. Id.

       In its opposition, Plaintiff raises only one argument in response to Defendants’ political

question doctrine analysis. Relying on Ralls Corp. v. Comm. on Foreign Inv., 758 F.3d 296 (D.C.

Cir. 2014), and Al-Aulaqi v. Panetta, 35 F. Supp. 3d 56 (D.D.C. 2014), Plaintiff maintains that the

political question doctrine can never apply to due process claims, even when such claims “intersect

with the highest of policy concerns” because “the interpretation and application of the Fifth

Amendment is fundamentally within the domain of the judiciary.” Pl’s Opp. at 36. Again, Plaintiff

misunderstands and misconstrues D.C. Circuit precedent.

       Ralls does not support as broad a reading as Plaintiff asserts. The D.C. Circuit held that in

that particular case the political question doctrine did not deprive it of jurisdiction to consider a

due process claim. Ralls Corp., 758 F.3d at 314. Ralls does not, however, establish a blanket rule

that all due process claims are necessarily justiciable in all circumstances. Id. at 313-14. Indeed,

any such rule would conflict with binding Supreme Court authority. The U.S. Supreme Court has

exercised its own “power to decide,” pursuant to the political question doctrine, that another branch

had final authority over a Fifth Amendment due process claim. See Gilligan v. Morgan, 413 U.S.




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1, 3-4 (1973) (declining to rule on allegations that the Ohio National Guard violated the free speech

and due process rights of student Vietnam War protesters by using violence to stop a demonstration

at Kent State University). Notably, in Gilligan, the Court stated that Congress’s power under

Article I, Section 8 “to prescribe and regulate the training and weaponry of the National Guard . . .

clearly precludes any form of judicial regulation of the same matters,” even though the claims

Plaintiff raised in that case included a due process claim. Id. at 68; see also id. at 6-12.

       Additionally, the facts of both the Ralls and Al-Aulaqi cases are very different from the

facts of this case. Ralls involved a Presidential Order requiring a company to divest itself of four

wind farming companies in the name of national security, Ralls Corp., 758 F.3d at 301-2. There,

the D.C. Circuit determined that because Ralls did not request that the Court “exercise judgment

in the realm of foreign policy and national security,” but instead asked the Court to decide whether

it was entitled to notice of and access to evidence, the claim was justiciable. Ralls Corp., 758 F.3d

296, 314 (D.C. Cir. 2014). Here, in contrast, Plaintiff concedes that it is asking this Court to

exercise judgment in the hands-off policy area of determining “who is deserving of veteran status

and who is not.” Pl’s Opp. at 24.

       In Al-Aulaqi, when holding the political question doctrine inapplicable the District Court

seemed motivated by the nature of the due process claim at stake—plaintiffs alleged that U.S.

officials “intentionally targeted and killed U.S. citizens abroad without due process,” an essential

death sentence that the Court found implicated “the most fundamental liberty and property rights

of this country’s citizenry.” Al-Aulaqi, 35 F. Supp. 3d at 70. No such death sentence is implicated

in the instant case. Moreover, the District Court noted in footnote 21 that its decision on the

political question issue was inconsistent with this Court’s decision in Al-Aulaqi v. Obama, 727 F.




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Supp. 2d 1 (D.D.C. 2010). Plaintiff’s arguments with respect to the political question doctrine are

thus unavailing.

                                        CONCLUSION

       For all of the above reasons and all of the reasons articulated in Defendants’ Motion to

Dismiss, Plaintiff’s Complaint should be dismissed pursuant to Rules 12(b)(1) and Rule 12(b)(6).

Dated: March 25, 2022
       Washington, D.C                Respectfully submitted,

                                      MATTHEW M. GRAVES, D.C. Bar #481052
                                      United States Attorney

                                      BRIAN P. HUDAK
                                      Acting Chief, Civil Division

                              By:     /s/ Diana V. Valdivia
                                      DIANA V. VALDIVIA, D.C. Bar #1006628
                                      Assistant United States Attorney
                                      U.S. Attorney’s Office, Civil Division
                                      555 Fourth Street, N.W.
                                      Washington, D.C. 20530
                                      Tel: (202) 252-2554
                                      diana.valdivia@usdoj.gov

                                      Counsel for Defendants




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